                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

BRIAN COFFEY                                    )   CASE NO. 1:18cv02675
                                                )
               Plaintiff,                       )   JUDGE CHRISTOPHER A. BOYKO
                                                )
vs.                                             )
                                                )   DEFENDANTS KENNETH L.
BUCKEYE SHAKER SQUARE                           )   JOHNSON AND GARNELL
DEVELOPMENT CORPORATION, et                     )   JAMISON’S RESPONSE IN
al.                                             )   OPPOSITION TO PLAINTIFF’S
                                                )   MOTION FOR DEFAULT JUDGMENT
               Defendants.                      )

       NOW COME Defendants Kenneth L. Johnson and Garnell Jamison, by and through

their legal counsel, Forbes, Fields & Associates Co., L.P.A., and hereby submit their Response in

Opposition to Plaintiff’s Motion for Default Judgment and request that this Honorable Court

denies Plaintiff’s Motion.

       This Response is being filed contemporaneously with Defendants Kenneth L. Johnson

and Garnell Jamison’s Motion for Leave to File Answer, Instanter. Rule 55(a) of the Federal

Rules of Civil Procedure states that “[w]hen a party against whom a judgment for affirmative

relief is sought has failed to plead or otherwise defend, and that failure is shown by affidavit or

otherwise, the clerk must enter the party's default.” If this Court grants Defendants Johnson and

Jamison’s Motion for Leave to file Answer, Instanter, their Answer will be entered, they will not

have failed to plead, and the clerk of court would not have the authority to enter a default

judgment against Defendants Johnson and Jamison. Thus, this Court should deny Plaintiff’s

Motion for Default Judgment because Defendants Johnson and Jamison’s Motion for Leave to

File Answer, Instanter is pending.
       This Court should also deny Plaintiff’s Motion for Default Judgment on the grounds that

any such entry of default should be set aside under Rule 55(c) of the Federal Rules of Civil

Procedure. Rule 55(c) provides that “[t]he court may set aside an entry of default for good cause,

and it may set aside a final default judgment under Rule 60(b).” The Sixth Circuit Court of

Appeals has stated that “[i]n general, our cases discussing motions to set aside default under Rule

55(c) are extremely forgiving to the defaulted party and favor a policy of resolving cases on the

merits instead of on the basis of procedural missteps.” U.S. v. $22,050.00 U.S. Currency, 595

F.3rd 318, 322 (6th Cir., 2010).

       Based on said public policy that cases should be decided on their merits, rather than on

procedural missteps, this case should be given the chance to be heard on its merits. Defendants

were not able to file their Answer on time because they did not receive service of Plaintiff’s

Complaint, and were unaware of this action against them until it was already too late to file their

Answer. It would be unjust to allow this action to be decided on a procedural technicality, rather

than on the merits. Thus, this Court should deny Plaintiff’s Motion for Default Judgment and

allow this case to be heard on its merits.

       WHEREFORE, for all the foregoing reasons, Defendants Kenneth L. Johnson and

Garnell Jamison, pray that Plaintiff’s Motion for Default Judgment be denied.




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Respectfully submitted,

FORBES, FIELDS & ASSOCIATES CO., L.P.A.


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                                 CERTIFICATE OF SERVICE

       A copy of the foregoing Defendants Kenneth L. Johnson and Garnell Jamison’s Response

in Opposition to Plaintiff’s Motion for Default Judgment was served via the Court’s electronic

case filing system on this 3rd day of July, 2019, to the following:

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